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14
                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
16                                           )
17           Plaintiffs,                     )   FIFTH SUPPLEMENT TO
                                             )   DEFENDANTS’ RESPONSE TO
18                v.                         )   JUNE 25, 2020 AMICUS BRIEF
19                                           )
     WILLIAM P. BARR, Attorney               )
20   General of the United States; et al.,   )
21                                           )
             Defendants.                     )
22                                           )
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                                             )

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 1         On June 26, 2020, the Court ordered that “Defendants may respond to the
 2
     amicus brief [Doc. # 831] by July 2, 2020.” ECF No. 833 at ¶ 3. In accordance with
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 4   the Court’s order, on July 2, 2020, Defendants filed a response from Ms. Deane

 5   Dougherty, the Juvenile Coordinator for U.S. Immigration and Customs
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     Enforcement (“ICE”). See ECF No. 838. That response explained that “ICE has been
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 8
     reporting any positive test results to the Court in O.M.G. v. Wolf, 1:20-cv-00786-

 9   JEB (D.D.C filed March 21, 2020),” and attached the reports submitted to the
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     O.M.G. Court as of July 2, 2020. See Response of Deane Dougherty, ECF No. 838-
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12
     1, at 2 and attachments.

13         Defendants have continued to submit updates to that Court, and on July 8,
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     2020, July 13, 2020, July 27, 2020, and August 24, 2020, Defendants supplemented
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     their July 2, 2020 filing to this Court with additional reports filed in O.M.G. through
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17   August 24, 2020. Defendants stated that they will continue to update this Court
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     regarding the reports filed in O.M.G.. Accordingly, attached hereto are the additional
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     reports filed in O.M.G. through September 25, 2020.
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 1
     DATED:    September 28, 2020     Respectfully submitted,
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 3
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                                      Acting Assistant Attorney General
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10                                    /s/ Sarah B. Fabian
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 1                               CERTIFICATE OF SERVICE
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 3
           I hereby certify that on September 28, 2020, I served the foregoing pleading

 4   and attachments on all counsel of record by means of the District Clerk’s CM/ECF
 5
     electronic filing system.
 6

 7

 8                                               /s/ Sarah B. Fabian
 9                                               SARAH B. FABIAN
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